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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, Hon. Paul D. Borman

Vv.

Case No. 17-CR-20406
ALPHONS [ACOBELLI,

Misc. Case No. 18-MC-51223
Defendant.

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EXHIBIT INDEX — THE NTC’S SUPPLEMENTAL BRIEF

1. Memorandum 9 - 1985
2. Memorandum 9 - 2007
3. Memorandum 9 — 2011
4. Memorandum 9 — 2015

5. Articles of Incorporation - UAW — Chrysler Skill Development and
Training Program

6. Old web page
7. NTC Update — Fall 2018
8. NTC Bill dated 6/28/07 (Liability)

9. US. v. Daly, 2012 U.S. Dist. LEXIS 11395, at *10-11 (D. Conn. 2012)

{H0628292.1}
